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                  EXHIBIT A
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NYSCEF DOC. NO. 1                                                                             RECEIVED NYSCEF: 06/12/2020




         MAZZOLA LINDSTROM LLP
         1350 Avenue of the Americas, 2nd Floor
         New York, New York 10019
         646.216.8300
         Attorneys for plaintiff

         Wendy J. Lindstrom, Esq.
         D: 646.216.8440
         M: 516.680.2889
         wendy@mazzolalindstrom.com


         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         --------------------------------------------------------------------------X   Commercial Division
         ATHENA ART FINANCE CORP.,
                                                     Plaintiff,
                 -against-                                                             Summons With Notice
         that
         CERTAIN ARTWORK BY JEAN-MICHEL BASQUIAT                                       Index No.__________
         ENTITLED HUMIDITY, 1982, In Rem,
                                                      Defendant.
         --------------------------------------------------------------------------X

         To the Following Interested Persons:
                          SATFINANCE INVESTMENT LIMITED
                          BORIS PESKO
                          ALEKSANDAR PESKO
                          DELAHUNTY FINE ART LTD.
                          DAMIAN DELAHUNTY
                          INIGO PHILBRICK LIMITED
                          INIGO PHILBRICK
                          18 BOXWOOD GREEN LIMITED
                          AND TO ANY PERSON WHO MAY CLAIM
                          AN INTEREST IN THE IN REM DEFENDANT.

                 Please take notice that plaintiff ATHENA ART FINANCE CORP. hereby commences

         this action to foreclose its lien upon, quiet title to, and to obtain an order permitting it to conduct

         a public or private sale of the above-referenced in rem defendant – to wit, that CERTAIN

         ARTWORK BY JEAN-MICHEL BASQUIAT ENTITLED HUMIDITY, 1982, In Rem.




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                You, the aforesaid interested persons, are hereby notified that should you fail to appear

         and state a claim to the in rem defendant, a judgment will be entered against the in rem defendant

         on default on the cause of action to foreclose its lien, pursuant to the Uniform Commercial Code,

         based upon the following:

                On or about March 31, 2017, plaintiff loaned certain moneys to borrower, 18
                Boxwood Green Limited, on a debt guaranteed by Inigo Philbrick Limited and
                Inigo Philbrick and collateralized in part by the defendant in rem, which loan was
                defaulted upon, and as a result thereof, and pursuant to the loan agreement of
                March 31, 2017, and as amended thereafter, plaintiff ATHENA ART FINANCE
                CORP., having possession of the in rem defendant, became entitled to sell the in
                rem defendant at public or private sale.

                As you, the aforesaid interested persons, have served notice upon plaintiff that you

         believe that you have legally enforceable interests to the in rem defendant, you are hereby invited

         to interpose your claim in this in rem proceeding.

                Accordingly, you, the aforesaid interested persons, are hereby summoned to appear in

         this action by serving a pleading on counsel for plaintiff, address below, within 20 days after

         service of this summons (not counting the day of service), or within 30 days after service is

         complete if the summons is not delivered personally to you within New York State, such

         pleading to identify whether you claim an interest in the subject artwork and the basis or bases

         for such claim.

                Plaintiff designates the Supreme Court of the State of New York, County of New York,

         60 Centre Street, New York, New York as the place of trial. The basis of this designation is that

         the res – to wit, the subject artwork is presently within the jurisdiction of the County of New

         York. If you fail to interpose a pleading setting forth whether you claim an interest in the subject

         artwork and the basis or bases therefor, a judgment by default will be taken, establishing that




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         plaintiff ATHENA ART FINANCE CORP. is vested with the right to dispose of the in rem

         defendant at public or private sale forthwith.

                Plaintiff designates this for Commercial Division assignment, as the in rem defendant has

         a value greatly in excess of the $500,000 monetary threshold of the Commercial Division,

         exclusive of punitive damages, interests, costs, disbursements and counsel fees claimed, and the

         claim arises under the Uniform Commercial Code. (See Uniform Rule 202.70(a), and

         202.70(b)(2)).

                WHEREFORE, plaintiff ATHENA ART FINANCE CORP. demands that it be permitted

         to sell that CERTAIN ARTWORK BY JEAN-MICHEL BASQUIAT ENTITLED HUMIDITY,

         1982, the in rem defendant herein, and that any interested person, having had an opportunity to

         intervene and state a claim thereto, is foreclosed from further claim against the in rem defendant.

         Dated: New York, New York
                June 2, 2020
                                               Respectfully submitted,
                                               MAZZOLA LINDSTROM, LLP


                                               By:________________
                                               Wendy J. Lindstrom
                                               Counsel for plaintiff Athena Art Finance Corp.
                                               1350 Avenue of the Americas, 2nd Floor
                                               New York, New York 10019
                                               D: 646.216.8440
                                               M: 516.680.2889
                                               wendy@mazzolalindstrom.com



         Service List Attached:




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                                                    Service

          SATFINANCE INVESTMENT LIMITED                   DELAHUNTY FINE ART LTD.
          BORIS PESKO and                                 DAMIAN DELAHUNTY
          ALEKSANDER PESKO                                c/o Daniel McClean, Esq.
          c/o Derek J.T. Adler, Esq.                      Cypress LLP
          Hughes Hubbard & Reed LLP                       11111 Santa Monica Boulevard, Suite 500
          One Battery Park Plaza, 17th floor              Los Angeles, California 90025
          New York, New York 10004-1482                   (424) 313-5674
          (212) 837-6086                                  dmcclean@cypressllp.com
          derek.adler@hugheshubbard.com

          INIGO PHILBRICK LIMITED
          INIGO PHILBRICK
          18 BOXWOOD GREEN LIMITED
          17 Grosvenor Square, Flat 3
          London W1K 6LB, England
                 – and –
          c/o Brebners, as agent for service of process
          for 18 Boxwood Green Limited
          30 Shaftesbury Ave, London, UK W ID SAR;
          london@brebners.com




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          MAZZOLA LINDSTROM LLP
          1350 Avenue of the Americas, 2nd Floor
          New York, New York 10019
          646.216.8300
          Attorneys for plaintiff

          Wendy J. Lindstrom, Esq.
          D: 646.216.8440
          M: 516.680.2889
          wendy@mazzolalindstrom.com


          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          --------------------------------------------------------------------------X   Commercial Division
          ATHENA ART FINANCE CORP.,
                                                      Plaintiff,
                  -against-                                                             Verified Complaint
          that
          CERTAIN ARTWORK BY JEAN-MICHEL BASQUIAT                                       Index No. 652258/2020
          ENTITLED HUMIDITY, 1982, In Rem,
                                                       Defendant.
          --------------------------------------------------------------------------X

                  COMES NOW plaintiff Athena Art Finance Corp. (“Athena”), a specialty lender engaged

          in the business of providing loans secured by high value fine art. Athena made a loan to a

          borrower that was collateralized by the above-referenced in rem defendant, a painting known as

          “Humidity” by Jean-Michel Basquiat, 1982 (the “Basquiat”). As this Court is aware, that loan is

          in default. Athena now brings this verified complaint to sell the Basquiat in order to satisfy this

          Court’s previously entered $14,306,800.47 judgment in Athena’s favor. By and through its

          attorneys, Mazzola Lindstrom, LLP, Athena alleges therefor upon information and belief as

          follows:




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                                                   Nature of Claim
                 1.      This is an in rem action to foreclose Athena’s lien, and to obtain an order

          permitting Athena to sell the Basquiat, an oil painting with dimensions of 96” x 72”, which is

          fairly and accurately reproduced here:




                 2.      The Basquiat is currently in the possession of Athena at a secure facility in New

          York, within the jurisdiction of the Supreme Court of the State of New York for the County of

          New York.

                 3.      This action arises out of a loan and security agreement, as amended from time to

          time between Athena and 18 Boxwood Green Limited (“Boxwood”) (the “LSA”), an entity

          which is 100% owned by Inigo Philbrick (“Philbrick”), who also separately provided both a

          personal guarantee and a corporate guarantee from his London company, Inigo Philbrick Limited

          (“IPL”) (collectively, the “Loan Obligors”), which loan was collateralized by the defendant in

          rem, and which loan was defaulted upon.



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                    4.    This Court has already entered a judgment for Athena and against the Loan

          Obligors in the amount of $14,306,800.47. See Athena Art Finance Corp. v. 18 Boxwood Green

          Limited, et al., NY County Index No. 657322/19 (Docket Entry 29, March 2, 2020) (Ostrager, J.)

          (the “Judgment”).

                    5.    As a result of this Court’s Judgment and under the explicit terms of the LSA,

          Athena, having possession of the Basquiat, is now entitled to sell it.

                    6.    The LSA, upon which this Court already has awarded judgment, is explicit that

          Athena already has the right to sell the painting unilaterally. It therefore now only seeks a

          declaration from this Court that it may sell the Basquiat without regard to outstanding claims

          from third parties purporting to hold some sort of interest in the painting.

                                           Procedural History and Record


                    7.    On March 31, 2017, Athena entered into the LSA and a promissory note (the

          “Original Note”) with Boxwood.

                    8.    Athena extended a loan commitment to Boxwood in the original amount of $10

          million under the LSA and the Original Note.

                    9.    On March 31, 2017, the same day as Athena and Boxwood entered into the LSA

          and the Original Note, IPL entered into a corporate guaranty and Philbrick entered into a

          personal guaranty.

                    10.   Also on March 31, 2017, Athena filed a UCC-1 statement in the District of

          Columbia against “all assets of [Boxwood] and all proceeds thereof.” Athena filed in the District

          of Columbia given Boxwood’s status as a foreign borrower incorporated under the laws of

          Jersey.

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                    11.      Pursuant to Section 3.4 of the LSA, on April 7, 2017, the Basquiat was pledged

          as loan collateral.

                    12.      On May 28, 2018, the loan commitment was increased by $3.5 million permitting

          a total principal amount of up to $13.5 million.

                    13.      The following facts were presented to the Court in the proceeding at which the

          aforementioned Judgment was awarded against the Loan Obligors:

                             a.       On October 1, 2019, Boxwood was obligated to, but did not, make a

                             regularly scheduled monthly interest payment of $102,590.00, representing 30-

                             days of accrued interest from September 1, 2019 through September 30, 2019.1

                             b.       On October 4, 2019, Athena notified Boxwood that it had failed to make

                             the interest payment due on October 1, 2019, which failure Boxwood did not

                             remedy within the 30 day grace period, as required by the LSA, and has never

                             been paid to date.

                             c.       Athena served a notice of default upon all of Boxwood, IPL, and Philbrick

                             on October 14, 2019 based on other breaches of the LSA.

                             d.       As of October 31, 2019, Boxwood’s failure to pay interest constituted

                             another event of default under the LSA.

                             e.       Athena chose to exercise its rights under the LSA to “declare the

                             outstanding principal of the Loans, all interest thereon and all other Obligations to

                             be forthwith due and payable,” and its right to subject the entire outstanding

                             amount to the default interest rate and late fees as of October 31, 2019, the date



          1
              As of May 31, 2020, Athena is owed in excess of $15.5 million.
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                          that Boxwood’s missed interest payment became another event of default under

                          the LSA.

                          f.      As set forth in the Judgment, the loan is subject to the contractual default

                          rate of 14.0701% per annum plus the late fee of 2%, and other fees, costs and

                          penalties.

                 14.      Today, June 12, 2020, Athena learned that Inigo Philbrick was taken into custody

          on June 11, 2020 by U.S. federal law enforcement agents in Vanuatu. According to a press

          release by the U.S. Department of Justice, Philbrick was transported to Guam, where he is

          expected to appear in federal court on June 15, 2020.

                 15.      Also today, June 12, 2020, a criminal complaint filed April 30, 2020 in the United

          States District Court for the Southern District of New York (Index No. 20 MAG 4507) was

          unsealed. Pursuant to that criminal complaint, Philbrick is charged with wire fraud and

          aggravated identity theft.

                                            Third Parties’ Purported Claims

                 16.      By email dated October 18, 2019, attorney Simon Bushell of Signature Litigation

          LLP in London advised Athena that his client, Satfinance Investment Limited (“Satfinance”),

          claimed an interest in the Basquiat.2 Shortly thereafter, Satfinance commenced an action against

          Athena in London, England (“Satfinance’s London Action”). The English court initially entered

          – but then on June 2, 2020 lifted – an injunction to prevent the sale of the Basquiat, dismissed

          Satfinance’s action against Athena altogether and awarded attorneys’ fees to Athena.

          Immediately thereafter, Athena filed the instant action.


          2
           Subsequently, attorney Derek J.T. Adler of Hughes Hubbard & Reed LLP, advised that he represents Satfinance’s
         interests in New York.
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                 17.      By email dated October 21, 2019, attorney Diana Wierbicki of the Withers law

          firm advised that her client, Delahunty Fine Art Ltd., claimed an interest in the Basquiat. On

          November 5, 2019 Athena was informed that Dan McClean of Cypress LLP had taken over that

          representation. Delahunty was subsequently joined to Satfinance’s London Action.

                    Prayer for Relief: Declaration that Athena May Sell the In Rem Defendant

                 18.     Athena repeats and realleges the allegations set forth above.

                 19.     Based upon the foregoing allegations, Athena is entitled to a declaration that it

          may now collect on the Judgment, plus accrued and unpaid stated interest, accrued and unpaid

          default interest, late fees, Collateral Administration Fees and Lender Expenses, as those terms

          are defined by the LSA, by selling the Basquiat as provided in the LSA upon which that

          Judgment was based.

                 WHEREFORE, plaintiff Athena Art Finance Corp. seeks a declaration that its right to

          sell the Basquiat in order to satisfy the Judgment, plus accrued and unpaid stated interest,

          accrued and unpaid default interest, late fees, Collateral Administration Fees and Lender

          Expenses in accordance with the LSA, is not separately violative of whatever rights any other

          person or entity may claim to have with respect to the in rem defendant – to wit, that Certain

          Artwork by Jean-Michel Basquiat entitled Humidity, 1982 –and that notice be deemed

          sufficient to the following potentially interested persons by delivery of these papers to the

          following addresses via email and Federal Express:

           SATFINANCE INVESTMENT LIMITED                       DELAHUNTY FINE ART LTD.
           BORIS PESKO and ALEKSANDAR PESKO                    DAMIAN DELAHUNTY
           c/o Derek J.T. Adler, Esq.                          c/o Daniel McClean, Esq.
           Hughes Hubbard & Reed LLP                           Cypress LLP
           One Battery Park Plaza, 17th floor                  11111 Santa Monica Boulevard, Suite 500
           New York, New York 10004-1482                       Los Angeles, California 90025
           (212) 837-6086                                      (424) 313-5674
           derek.adler@hugheshubbard.com                       dmcclean@cypressllp.com
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          INIGO PHILBRICK LIMITED
          INIGO PHILBRICK
          18 BOXWOOD GREEN LIMITED
          c/o Brebners, as agent for service of process
          for 18 Boxwood Green Limited
          30 Shaftesbury Ave, London, UK W ID SAR;
          london@brebners.com



         Dated: New York, New York
                June 12, 2020                Respectfully submitted,
                                             MAZZOLA LINDSTROM, LLP


                                             By:________________
                                             Wendy J. Lindstrom
                                             Counsel for plaintiff Athena Art Finance Corp.
                                             1350 Avenue of the Americas, 2nd Floor
                                             New York, New York 10019
                                             D: 646.216.8440
                                             M: 516.680.2889
                                             wendy@mazzolalindstrom.com




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                                                                                         Verification




      State      of New       York               )

                                                 )               ss.:

       County      of New          York          )



                   Cynthia         Sachs,            being       duly    sworn,        deposes          and   says:



                   I am the          Chief       Investmeñt              Officer         of Athena        Art    Finance            Corp.,         the   plaintiff      in this

       action.     I have        read     the        complaint          herein       and    know        the   contents         thereof            to be true         to my   own

       knowledge,            except        as to those             matters         stated    on    information           and        belief,       and    as to those         matters   I

       believe      them         to be true.




                                                                                                                                                  achs




        Sworn       to before           me this
        12th     day   of June,           2020




        Notarf            blic




                             PU8GC                   STME          of    NEW        Ye                                                  .
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         S icka        hon         A/o.      :   0    2.1.f   Co.7f?Ýo                                                          ·             .




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                                                     At Part ___ of the Supreme Court of the State of New
                                                     York held in and for the County of New York, on the
                                                     _____ day of June, 2020


P R E S E N T : __________________, JSC


SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
--------------------------------------------------------------------------X   Commercial Division
ATHENA ART FINANCE CORP.,
                                            Plaintiff,                        Index No. 652258/2020
        -against-
that
CERTAIN ARTWORK BY JEAN-MICHEL BASQUIAT                                       Order to Show Cause to Permit
ENTITLED HUMIDITY, 1982, In Rem,                                              Immediate Sale of Collateral
                                             Defendant.
--------------------------------------------------------------------------X


        WHEREAS, a summons with notice (dated June 2, 2020) and a verified complaint (dated June

12, 2020) against the in rem defendant – to wit, that Certain Artwork by Jean-Michel Basquiat

entitled Humidity, 1982 – were filed with the Clerk of the Court, and were assigned the above-

referenced index number; and

        WHEREAS, pursuant to the verified complaint, plaintiff Athena Art Finance Corp.

(“Athena”) seeks an order permitting it to immediately sell the in rem defendant, which is collateral

on a loan that has been defaulted upon, and as to which a $14,306,800.47 default judgment in favor of

plaintiff Athena was obtained in the New York State Supreme Court, New York County action

entitled Athena Art Finance Corp. v. 18 Boxwood Green Limited, et al., NY County Index No.

657322/19 (Docket Entry 29, March 2, 2020) (Ostrager, J.); and



                                                           1
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       WHEREAS, the in rem defendant, an artwork having considerable value, is now in the

possession of plaintiff Athena, within the County of New York, and thus within the jurisdiction of

this court; and

       WHEREAS, plaintiff Athena is both a secured lender and a judgment creditor with full rights

to sell the in rem defendant; and

       WHEREAS, certain persons and entities – to wit, Satfinance Investment Limited

(“Satfinance”), Boris Pesko, Aleksandar Pesko, Delahunty Fine Art Ltd. and Damian Delahunty –

may wish to be heard and oppose the sale, as they claim a purported interest in the in rem defendant;

and

       WHEREAS, Inigo Philbrick was arrested and has been in federal custody since at least June

12, 2020 and is the subject of a criminal complaint in the United States District Court for the

Southern District of New York unsealed as of that same date (Docket No. 20-MAG-4507);

       NOW, upon the annexed affirmation dated June 17, 2020 of Wendy J. Lindstrom, together

with the papers attached to this order to show cause;

       LET all persons receiving notice hereof show cause before this court, at Part ___, at 60 Centre

Street, New York, New York, courtroom _____, on the ____ day of June, 2020, at _____am/pm, or

as soon thereafter as the parties can be heard;

       Why an order should not be made and entered:

       a)         Permitting the immediate sale of that Certain Artwork by Jean-Michel Basquiat

                  entitled Humidity, 1982, defendant in rem;




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       b)     Requiring any person or entity who seeks to stay such sale to post a bond in the amount

              of $20 million, or such amount as is deemed reasonable by the Court, within ten days of

              the issuance of any order staying such sale; and

       c)     Granting such other and further relief as to the court seems just and proper.

And it is,

       ORDERED that service of this order, along with the accompanying papers, along with the

summons and complaint, shall be good and sufficient if made on or before the ____ day of June ____,

2020 by FedEx and email, as indicated below:

 SATFINANCE INVESTMENT LIMITED                   DELAHUNTY FINE ART LTD.
 BORIS PESKO and                                 DAMIAN DELAHUNTY
 ALEKSANDER PESKO                                c/o Daniel McClean, Esq.
 c/o Derek J.T. Adler, Esq.                      Cypress LLP
 Hughes Hubbard & Reed LLP                       11111 Santa Monica Boulevard, Suite 500
 One Battery Park Plaza, 17th floor              Los Angeles, California 90025
 New York, New York 10004-1482                   (424) 313-5674
 (212) 837-6086                                  dmcclean@cypressllp.com
 derek.adler@hugheshubbard.com

 INIGO PHILBRICK (personally and as
 Principal of INIGO PHILBRICK LIMITED
 and 18 BOXWOOD GREEN LIMITED)
 c/o Warden Marti Licon-Vitale
 Metropolitan Correctional Center,
 Federal Bureau of Prisons
 150 Park Row
 New York, New York 10007

 And

  John T. Gorman, Esq.
  Federal Public Defender
  Email: john_t_gorman@fd.org



Dated: New York, New York
       June __, 2020
                                                      ________________________________
                                                                        , JSC


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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         --------------------------------------------------------------------------X
         ATHENA ART FINANCE CORP.,
                                                     Plaintiff,                        Index No. 652258/2020
                 -against-
         that
         CERTAIN ARTWORK BY JEAN-MICHEL BASQUIAT                                       Affirmation of Wendy J.
         ENTITLED HUMIDITY, 1982, In Rem,                                              Lindstrom in Support of OTSC
                                                      Defendant.
         --------------------------------------------------------------------------X


                 I, Wendy J. Lindstrom, an attorney duly admitted to practice before the courts of the State of

         New York, affirm under penalty of perjury as follows:

                 1.       I am an attorney with the firm Mazzola Lindstrom, LLP, counsel for plaintiff Athena

         Art Finance Corp. (“Athena”), and am familiar with the facts set forth herein based upon my review

         of the file maintained for the prosecution of this action.

                 2.       This is an in rem action, requesting an order that Athena be permitted to sell – publicly

         or privately, at its discretion – that Certain Artwork by Jean-Michel Basquiat entitled Humidity, 1982,

         in rem defendant, (“the Basquiat”), as provided in the controlling Loan and Security Agreement

         described below.

                 3.       In advance of the submission of this order to show cause to the court, a courtesy copy

         will have been forwarded via email to the attorneys for the individuals and entities set forth in the

         service list, and the transmittal email provided as an exhibit.

                 4.       Additionally, these papers will be forwarded to Inigo Philbrick (in his personal

         capacity and as principal of Inigo Philbrick Ltd. and 18 Boxwood Green Ltd.) c/o Warden Marti




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         Licon-Vitale at the Metropolitan Correctional Center, Federal Bureau of Prisons,150 Park Row, New

         York, New York 10007.1

                5.      In support of this motion, I annex the following exhibits:

                        Exhibit “A”    Summons with notice, dated June 2, 2020;
                        Exhibit “B”    Verified complaint, dated June 11, 2020;
                        Exhibit “C”    $14,306,800.47 default judgment, dated March 2, 2020, in favor of
                                       plaintiff Athena, Athena Art Finance Corp. v. 18 Boxwood Green
                                       Limited, et al., NY County Index No. 657322/19 (with notice of entry
                                       dated March 10, 2020);
                        Exhibit “D”    Loan and Security Agreement (“LSA”) dated March 31, 2017;

                        Exhibit “E”    District of Columbia UCC-1 Statement against 18 Boxwood Green;

                        Exhibit “F”    Amended Schedule A to the LSA dated November 30, 2018;

                        Exhibit “G”    Affidavit of Cynthia E. Sachs, Chief Investment Officer of Athena Fine
                                       Art Corp., dated June 16, 2020;

                        Exhibit “H”    Transmittal email showing transmission on June 1 , 2020 of this
                                       proposed order to show cause, with supporting papers and exhibits, to
                                       counsel in advance of presentation to the court. These papers are also
                                       being mailed on June 1 th to Mr. Philbrick c/o the warden of the
                                       Metropolitan Correctional Center.

                6.      On March 31, 2017, Athena entered into the LSA, pursuant to which it extended a loan

         commitment to 18 Boxwood Green Limited in the amount of $10 million, collateralized with certain

         artworks listed on Schedule A thereto and guaranteed by Inigo Philbrick Limited and personally by

         Inigo Philbrick. Exhibit D.




         1
          Please note that when this lawsuit was commenced with the filing of the summons with notice on
         June 2nd, Mr. Philbrick was a fugitive from justice. However, as of June 12th, he has been (as
         reported in the press) in federal custody in Guam, and a federal criminal complaint against him in the
         Southern District of New York has been unsealed. As of June 15th (as reported in the press) he has
         waived any objection to being transported to the Southern District of New York. We presume that he
         will soon be housed in the MCC. Should he be housed elsewhere, we will notify the court
         accordingly, and request that service of this order to show cause be made upon him elsewhere.
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                7.      Also on March 31, 2017, Athena filed a UCC-1 statement in the District of Columbia

         against “all assets of [Boxwood] and all proceeds thereof.” Exhibit E. Athena filed in the District of

         Columbia because of Boxwood’s status as a foreign borrower incorporated under the laws of Jersey.

                8.      On April 7, 2017, pursuant to Section 3.4 of the LSA, the Basquiat was added to the

         pool of loan collateral.

                9.      On May 28, 2018, the loan commitment was increased by $3.5 million permitting a

         total principal amount of up to $13.5 million.

                10.     On November 30, 2018, Schedule A to the LSA was amended for the final time,

         assigning the Basquiat a value as of that date of $19 million. Exhibit F.

                11.     As set forth in the accompanying verified complaint, Boxwood defaulted on the loan,

         and therefore Athena brought an action against it, as well as corporate guarantor Inigo Philbrick

         Limited, and Inigo Philbrick in his personal capacity (collectively referred to herein as the “Loan

         Obligors”). Having failed to appear and answer, a default judgment was ultimately entered against

         them, for $14,306,800.47.

                12.     Under the LSA, in the event of a default, Athena has the absolute right, unilaterally, to

         sell the collateral at public or private sale. As the loan is indeed in default, as demonstrated rather

         conclusively by the judgment annexed hereto as Exhibit C, Athena thus has the right to sell the

         Basquiat.

                13.     This order to show cause is presented, as was the summons with notice, and verified

         complaint, because two separate groups – the Satfinance Group (which includes Satfinance Limited,

         it principals Boris Pesko, and his son and Satfinance Limited’s “advisor”, Aleksandar Pesko) and

         Delahunty Limited (a/k/a Delahunty Fine Art Ltd.) – have asserted purported claims to the Basquiat.




                                                              6


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                14.     Athena denies the claims raised by the Satfinance Group and Delahunty Limited and,

         in the event they, or anyone else, may come forward and seek to enjoin the sale, any such injunction

         must be predicated upon that person or entity’s posting of a bond sufficient to guarantee that, should

         the court determine that any such injunction or restraint on the sale was wrongly issued, Athena may

         be fully compensated for the loss or harm caused as a result of the injunction or restraining order.

                15.     Satfinance Group had previously obtained an order from a London court on November

         1, 2019 – in the nature of a TRO – barring the sale of the Basquiat.2 The London court, however,

         dismissed all claims against Athena on May 26, 2020, and thereafter vacated the injunction on June 2,

         2020. Athena’s summons with notice herein was filed immediately thereafter.

                16.     During the period that Athena was subject to a stay by the London court, it was

         harmed because the debt owed by the Loan Obligors has increased by some $800,000, at a rate of

         over $150,000 per month, exclusive of attorneys’ fees, storage fees, insurance and other lender

         expenses being incurred.

                17.     But for Satfinance Group’s wrongful injunction, Athena, as a secured lender, would

         have already foreclosed upon the collateral after the loan went into default and sold the painting in a

         stronger (pre-pandemic) market. Alternatively, Athena could have sought judicial intervention and

         any purported third-parties’ claims could have been resolved or adjudicated pre-pandemic. Under

         either circumstance, Athena was forced to bear risk for a longer period than necessary by reason of

         Satfinance Group’s wrongful injunction.




         2
           Delahunty was added as a party to the London proceeding by an order dated 19 May 2020, according
         to the recital paragraphs of the judgment of Chief Master Marsh, of May 26, 2020.
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                18.     Accordingly, it is submitted that there can be no good-faith basis to oppose the

         immediate sale of the Basquiat, and it is respectfully requested that this court authorize such sale to

         proceed immediately, whether by public or private sale, at the discretion of Athena.

                19.     There has been no prior application for the relief sought herein.

                WHEREFORE, it is respectfully requested that the relief set forth in the accompanying order

         to show cause be granted.

         Dated: New York, New York
                June 17, 2020                  Respectfully submitted,
                                               MAZZOLA LINDSTROM, LLP


                                               By:________________
                                               Wendy J. Lindstrom
                                               Counsel for plaintiff Athena Art Finance Corp.
                                               1350 Avenue of the Americas, 2nd Floor
                                               New York, New York 10019
                                               D: 646.216.8440
                                               M: 516.680.2889
                                               wendy@mazzolalindstrom.com




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         MAZZOLA LINDSTROM LLP
         1350 Avenue of the Americas, 2nd Floor
         New York, New York 10019
         646.216.8300
         Attorneys for plaintiff

         Wendy J. Lindstrom, Esq.
         D: 646.216.8440
         M: 516.680.2889
         wendy@mazzolalindstrom.com


         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         --------------------------------------------------------------------------X   Commercial Division
         ATHENA ART FINANCE CORP.,
                                                     Plaintiff,
                 -against-                                                             Summons With Notice
         that
         CERTAIN ARTWORK BY JEAN-MICHEL BASQUIAT                                       Index No.__________
         ENTITLED HUMIDITY, 1982, In Rem,
                                                      Defendant.
         --------------------------------------------------------------------------X

         To the Following Interested Persons:
                          SATFINANCE INVESTMENT LIMITED
                          BORIS PESKO
                          ALEKSANDAR PESKO
                          DELAHUNTY FINE ART LTD.
                          DAMIAN DELAHUNTY
                          INIGO PHILBRICK LIMITED
                          INIGO PHILBRICK
                          18 BOXWOOD GREEN LIMITED
                          AND TO ANY PERSON WHO MAY CLAIM
                          AN INTEREST IN THE IN REM DEFENDANT.

                 Please take notice that plaintiff ATHENA ART FINANCE CORP. hereby commences

         this action to foreclose its lien upon, quiet title to, and to obtain an order permitting it to conduct

         a public or private sale of the above-referenced in rem defendant – to wit, that CERTAIN

         ARTWORK BY JEAN-MICHEL BASQUIAT ENTITLED HUMIDITY, 1982, In Rem.




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                You, the aforesaid interested persons, are hereby notified that should you fail to appear

         and state a claim to the in rem defendant, a judgment will be entered against the in rem defendant

         on default on the cause of action to foreclose its lien, pursuant to the Uniform Commercial Code,

         based upon the following:

                On or about March 31, 2017, plaintiff loaned certain moneys to borrower, 18
                Boxwood Green Limited, on a debt guaranteed by Inigo Philbrick Limited and
                Inigo Philbrick and collateralized in part by the defendant in rem, which loan was
                defaulted upon, and as a result thereof, and pursuant to the loan agreement of
                March 31, 2017, and as amended thereafter, plaintiff ATHENA ART FINANCE
                CORP., having possession of the in rem defendant, became entitled to sell the in
                rem defendant at public or private sale.

                As you, the aforesaid interested persons, have served notice upon plaintiff that you

         believe that you have legally enforceable interests to the in rem defendant, you are hereby invited

         to interpose your claim in this in rem proceeding.

                Accordingly, you, the aforesaid interested persons, are hereby summoned to appear in

         this action by serving a pleading on counsel for plaintiff, address below, within 20 days after

         service of this summons (not counting the day of service), or within 30 days after service is

         complete if the summons is not delivered personally to you within New York State, such

         pleading to identify whether you claim an interest in the subject artwork and the basis or bases

         for such claim.

                Plaintiff designates the Supreme Court of the State of New York, County of New York,

         60 Centre Street, New York, New York as the place of trial. The basis of this designation is that

         the res – to wit, the subject artwork is presently within the jurisdiction of the County of New

         York. If you fail to interpose a pleading setting forth whether you claim an interest in the subject

         artwork and the basis or bases therefor, a judgment by default will be taken, establishing that




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         plaintiff ATHENA ART FINANCE CORP. is vested with the right to dispose of the in rem

         defendant at public or private sale forthwith.

                Plaintiff designates this for Commercial Division assignment, as the in rem defendant has

         a value greatly in excess of the $500,000 monetary threshold of the Commercial Division,

         exclusive of punitive damages, interests, costs, disbursements and counsel fees claimed, and the

         claim arises under the Uniform Commercial Code. (See Uniform Rule 202.70(a), and

         202.70(b)(2)).

                WHEREFORE, plaintiff ATHENA ART FINANCE CORP. demands that it be permitted

         to sell that CERTAIN ARTWORK BY JEAN-MICHEL BASQUIAT ENTITLED HUMIDITY,

         1982, the in rem defendant herein, and that any interested person, having had an opportunity to

         intervene and state a claim thereto, is foreclosed from further claim against the in rem defendant.

         Dated: New York, New York
                June 2, 2020
                                               Respectfully submitted,
                                               MAZZOLA LINDSTROM, LLP


                                               By:________________
                                               Wendy J. Lindstrom
                                               Counsel for plaintiff Athena Art Finance Corp.
                                               1350 Avenue of the Americas, 2nd Floor
                                               New York, New York 10019
                                               D: 646.216.8440
                                               M: 516.680.2889
                                               wendy@mazzolalindstrom.com



         Service List Attached:




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                                                    Service

          SATFINANCE INVESTMENT LIMITED                   DELAHUNTY FINE ART LTD.
          BORIS PESKO and                                 DAMIAN DELAHUNTY
          ALEKSANDER PESKO                                c/o Daniel McClean, Esq.
          c/o Derek J.T. Adler, Esq.                      Cypress LLP
          Hughes Hubbard & Reed LLP                       11111 Santa Monica Boulevard, Suite 500
          One Battery Park Plaza, 17th floor              Los Angeles, California 90025
          New York, New York 10004-1482                   (424) 313-5674
          (212) 837-6086                                  dmcclean@cypressllp.com
          derek.adler@hugheshubbard.com

          INIGO PHILBRICK LIMITED
          INIGO PHILBRICK
          18 BOXWOOD GREEN LIMITED
          17 Grosvenor Square, Flat 3
          London W1K 6LB, England
                 – and –
          c/o Brebners, as agent for service of process
          for 18 Boxwood Green Limited
          30 Shaftesbury Ave, London, UK W ID SAR;
          london@brebners.com




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          MAZZOLA LINDSTROM LLP
          1350 Avenue of the Americas, 2nd Floor
          New York, New York 10019
          646.216.8300
          Attorneys for plaintiff

          Wendy J. Lindstrom, Esq.
          D: 646.216.8440
          M: 516.680.2889
          wendy@mazzolalindstrom.com


          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          --------------------------------------------------------------------------X   Commercial Division
          ATHENA ART FINANCE CORP.,
                                                      Plaintiff,
                  -against-                                                             Verified Complaint
          that
          CERTAIN ARTWORK BY JEAN-MICHEL BASQUIAT                                       Index No. 652258/2020
          ENTITLED HUMIDITY, 1982, In Rem,
                                                       Defendant.
          --------------------------------------------------------------------------X

                  COMES NOW plaintiff Athena Art Finance Corp. (“Athena”), a specialty lender engaged

          in the business of providing loans secured by high value fine art. Athena made a loan to a

          borrower that was collateralized by the above-referenced in rem defendant, a painting known as

          “Humidity” by Jean-Michel Basquiat, 1982 (the “Basquiat”). As this Court is aware, that loan is

          in default. Athena now brings this verified complaint to sell the Basquiat in order to satisfy this

          Court’s previously entered $14,306,800.47 judgment in Athena’s favor. By and through its

          attorneys, Mazzola Lindstrom, LLP, Athena alleges therefor upon information and belief as

          follows:




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                                                   Nature of Claim
                 1.      This is an in rem action to foreclose Athena’s lien, and to obtain an order

          permitting Athena to sell the Basquiat, an oil painting with dimensions of 96” x 72”, which is

          fairly and accurately reproduced here:




                 2.      The Basquiat is currently in the possession of Athena at a secure facility in New

          York, within the jurisdiction of the Supreme Court of the State of New York for the County of

          New York.

                 3.      This action arises out of a loan and security agreement, as amended from time to

          time between Athena and 18 Boxwood Green Limited (“Boxwood”) (the “LSA”), an entity

          which is 100% owned by Inigo Philbrick (“Philbrick”), who also separately provided both a

          personal guarantee and a corporate guarantee from his London company, Inigo Philbrick Limited

          (“IPL”) (collectively, the “Loan Obligors”), which loan was collateralized by the defendant in

          rem, and which loan was defaulted upon.



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                    4.    This Court has already entered a judgment for Athena and against the Loan

          Obligors in the amount of $14,306,800.47. See Athena Art Finance Corp. v. 18 Boxwood Green

          Limited, et al., NY County Index No. 657322/19 (Docket Entry 29, March 2, 2020) (Ostrager, J.)

          (the “Judgment”).

                    5.    As a result of this Court’s Judgment and under the explicit terms of the LSA,

          Athena, having possession of the Basquiat, is now entitled to sell it.

                    6.    The LSA, upon which this Court already has awarded judgment, is explicit that

          Athena already has the right to sell the painting unilaterally. It therefore now only seeks a

          declaration from this Court that it may sell the Basquiat without regard to outstanding claims

          from third parties purporting to hold some sort of interest in the painting.

                                           Procedural History and Record


                    7.    On March 31, 2017, Athena entered into the LSA and a promissory note (the

          “Original Note”) with Boxwood.

                    8.    Athena extended a loan commitment to Boxwood in the original amount of $10

          million under the LSA and the Original Note.

                    9.    On March 31, 2017, the same day as Athena and Boxwood entered into the LSA

          and the Original Note, IPL entered into a corporate guaranty and Philbrick entered into a

          personal guaranty.

                    10.   Also on March 31, 2017, Athena filed a UCC-1 statement in the District of

          Columbia against “all assets of [Boxwood] and all proceeds thereof.” Athena filed in the District

          of Columbia given Boxwood’s status as a foreign borrower incorporated under the laws of

          Jersey.

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                    11.      Pursuant to Section 3.4 of the LSA, on April 7, 2017, the Basquiat was pledged

          as loan collateral.

                    12.      On May 28, 2018, the loan commitment was increased by $3.5 million permitting

          a total principal amount of up to $13.5 million.

                    13.      The following facts were presented to the Court in the proceeding at which the

          aforementioned Judgment was awarded against the Loan Obligors:

                             a.       On October 1, 2019, Boxwood was obligated to, but did not, make a

                             regularly scheduled monthly interest payment of $102,590.00, representing 30-

                             days of accrued interest from September 1, 2019 through September 30, 2019.1

                             b.       On October 4, 2019, Athena notified Boxwood that it had failed to make

                             the interest payment due on October 1, 2019, which failure Boxwood did not

                             remedy within the 30 day grace period, as required by the LSA, and has never

                             been paid to date.

                             c.       Athena served a notice of default upon all of Boxwood, IPL, and Philbrick

                             on October 14, 2019 based on other breaches of the LSA.

                             d.       As of October 31, 2019, Boxwood’s failure to pay interest constituted

                             another event of default under the LSA.

                             e.       Athena chose to exercise its rights under the LSA to “declare the

                             outstanding principal of the Loans, all interest thereon and all other Obligations to

                             be forthwith due and payable,” and its right to subject the entire outstanding

                             amount to the default interest rate and late fees as of October 31, 2019, the date



          1
              As of May 31, 2020, Athena is owed in excess of $15.5 million.
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                          that Boxwood’s missed interest payment became another event of default under

                          the LSA.

                          f.      As set forth in the Judgment, the loan is subject to the contractual default

                          rate of 14.0701% per annum plus the late fee of 2%, and other fees, costs and

                          penalties.

                 14.      Today, June 12, 2020, Athena learned that Inigo Philbrick was taken into custody

          on June 11, 2020 by U.S. federal law enforcement agents in Vanuatu. According to a press

          release by the U.S. Department of Justice, Philbrick was transported to Guam, where he is

          expected to appear in federal court on June 15, 2020.

                 15.      Also today, June 12, 2020, a criminal complaint filed April 30, 2020 in the United

          States District Court for the Southern District of New York (Index No. 20 MAG 4507) was

          unsealed. Pursuant to that criminal complaint, Philbrick is charged with wire fraud and

          aggravated identity theft.

                                            Third Parties’ Purported Claims

                 16.      By email dated October 18, 2019, attorney Simon Bushell of Signature Litigation

          LLP in London advised Athena that his client, Satfinance Investment Limited (“Satfinance”),

          claimed an interest in the Basquiat.2 Shortly thereafter, Satfinance commenced an action against

          Athena in London, England (“Satfinance’s London Action”). The English court initially entered

          – but then on June 2, 2020 lifted – an injunction to prevent the sale of the Basquiat, dismissed

          Satfinance’s action against Athena altogether and awarded attorneys’ fees to Athena.

          Immediately thereafter, Athena filed the instant action.


          2
           Subsequently, attorney Derek J.T. Adler of Hughes Hubbard & Reed LLP, advised that he represents Satfinance’s
         interests in New York.
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                 17.      By email dated October 21, 2019, attorney Diana Wierbicki of the Withers law

          firm advised that her client, Delahunty Fine Art Ltd., claimed an interest in the Basquiat. On

          November 5, 2019 Athena was informed that Dan McClean of Cypress LLP had taken over that

          representation. Delahunty was subsequently joined to Satfinance’s London Action.

                    Prayer for Relief: Declaration that Athena May Sell the In Rem Defendant

                 18.     Athena repeats and realleges the allegations set forth above.

                 19.     Based upon the foregoing allegations, Athena is entitled to a declaration that it

          may now collect on the Judgment, plus accrued and unpaid stated interest, accrued and unpaid

          default interest, late fees, Collateral Administration Fees and Lender Expenses, as those terms

          are defined by the LSA, by selling the Basquiat as provided in the LSA upon which that

          Judgment was based.

                 WHEREFORE, plaintiff Athena Art Finance Corp. seeks a declaration that its right to

          sell the Basquiat in order to satisfy the Judgment, plus accrued and unpaid stated interest,

          accrued and unpaid default interest, late fees, Collateral Administration Fees and Lender

          Expenses in accordance with the LSA, is not separately violative of whatever rights any other

          person or entity may claim to have with respect to the in rem defendant – to wit, that Certain

          Artwork by Jean-Michel Basquiat entitled Humidity, 1982 –and that notice be deemed

          sufficient to the following potentially interested persons by delivery of these papers to the

          following addresses via email and Federal Express:

           SATFINANCE INVESTMENT LIMITED                       DELAHUNTY FINE ART LTD.
           BORIS PESKO and ALEKSANDAR PESKO                    DAMIAN DELAHUNTY
           c/o Derek J.T. Adler, Esq.                          c/o Daniel McClean, Esq.
           Hughes Hubbard & Reed LLP                           Cypress LLP
           One Battery Park Plaza, 17th floor                  11111 Santa Monica Boulevard, Suite 500
           New York, New York 10004-1482                       Los Angeles, California 90025
           (212) 837-6086                                      (424) 313-5674
           derek.adler@hugheshubbard.com                       dmcclean@cypressllp.com
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          INIGO PHILBRICK LIMITED
          INIGO PHILBRICK
          18 BOXWOOD GREEN LIMITED
          c/o Brebners, as agent for service of process
          for 18 Boxwood Green Limited
          30 Shaftesbury Ave, London, UK W ID SAR;
          london@brebners.com



         Dated: New York, New York
                June 12, 2020                Respectfully submitted,
                                             MAZZOLA LINDSTROM, LLP


                                             By:________________
                                             Wendy J. Lindstrom
                                             Counsel for plaintiff Athena Art Finance Corp.
                                             1350 Avenue of the Americas, 2nd Floor
                                             New York, New York 10019
                                             D: 646.216.8440
                                             M: 516.680.2889
                                             wendy@mazzolalindstrom.com




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                                                                                         Verification




      State      of New       York               )

                                                 )               ss.:

       County      of New          York          )



                   Cynthia         Sachs,            being       duly    sworn,        deposes          and   says:



                   I am the          Chief       Investmeñt              Officer         of Athena        Art    Finance            Corp.,         the   plaintiff      in this

       action.     I have        read     the        complaint          herein       and    know        the   contents         thereof            to be true         to my   own

       knowledge,            except        as to those             matters         stated    on    information           and        belief,       and    as to those         matters   I

       believe      them         to be true.




                                                                                                                                                  achs




        Sworn       to before           me this
        12th     day   of June,           2020




        Notarf            blic




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         S icka        hon         A/o.      :   0    2.1.f   Co.7f?Ýo                                                          ·             .




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                                Plaintiff




                                Defendants




                                                   Attorneys for Plaintiff Athena Art Finance
                                                   Corp.




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           SUPREME                 COURT             OF THE             STATE            OF NEW              YORK
           COUNTY               OF NEW              YORK

               ATHENA                  ART      FINANCE                CORP.,


                                                                         Plaintiff                                      Index        No.     657322/2019


                                                     -against-                                                          JUDGMENT


               18    BOXWOOD                     GREEN           LIMITED,              INIGO
               PHILBRICK                  LTD.,        and    INIGO            PHILBRICK,


                                                                         Defendants.




                           Plaintiff       having       moved           for    summary           judgment             in lieu     of complaint                herein,       and     the      Court



            having         rendered          its Decision          and        Order,     dated       January          23,    2020,         by which           it granted          Plaintiff's


            motion         against       the     Defeiidaiits,          and      the    Court       having        further        directed         Plaintiff          to submit         a


            judgment;           consistent          with      said     Decision          and       Order;


                           NOW,          on motion           of NICHOLAS                    A.   GRAVANTE,                    JR.,     counsel         for     Plaintiff,         it is


                           ADJUDGED                 that     the Plaintiff,            ATHENA               ART       FINANCE                CORP.,           with      offices        at 300


            PARK           AVENUE,               15TH       FLOOR,             NEW        YORK,             NEW YORK                   10022,       recover          of Defendant                    18


            BOXWOOD                    GREEN          LIMITED,                with     offices       at FIRST           FLOOR,              7 ESPLANADE,                     ST HELIER,


            JERSEY            JE2      3QA,       Defendant            INIGO           PHILBRICK               LTD.,          with      offices       at 55 GROSVENOR


            STREET,             MAYFAIR,                LONDON,                W1K        3HY,        ENGLAND,                  and     Defendant              INIGO         PHILBRICK,


            who      resides        at 43 GREEN                  STREET,             FLAT        3, LONDON,                  W1K        7FJ,      ENGLAND,                  the     sum         of


            $13.5     MILLION                  ($13,500,000)             DOLLARS,                  with     default         interest       at the     contractual            rate      of


            14.0701%            per     annum        from        the    date     of the      31st     day     of October,              2019,      in the       amount        of




            and     late    fees       at the rate      of 2% per             annum         from     the     date     of the      31st      day     of October,             2019,           in the




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            amount       of


                                                                                                                                                 sed        masp

            together      with    attorney's          fees   in the amount         of TWENTY          FIVE     THOUSAND               ($25,000.00)


            DOLLARS,             insütâñce       costs       in the amount     of THIRTY-EIGHT                     THOUSAND           THREE


            HUNDRED              EIGHTY          ($38,380.00),        and    storage       fees   in the   amount      of ELEVEN           THOUSAND


            SEVEN        HUNDRED               NINETY           ONE   ($1 1,791.00),          and   amusWe     costs    in the   amount      of éiteMB                    ed

                                                                                                                       making     in all the   sum     of




            and   that   the Plaintiff         have     execution     therefore.




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           SUPREME                COURT                OF THE              STATE              OF NEW               YORK
           COUNTY                OF NEW               YORK

                  ATHENA             ART         FINANCE               CORP.,


                                                                            Plaintiff                                         Index       No.        657322/2019


                                                       -against-                                                              BILL        OF COSTS


                  18   BOXWOOD                    GREEN             LIMITED,                  INIGO
                  PHILBRICK                  LTD.,       and     INIGO           PHILBRICK,


                                                                             Defendants.

             ___                                           __                                            ____




                          Costs                Statute                                                                 -----------        $ 200.00
                                        by
                          Prospective                Marshal's            Fee -------------------                     ------------W
                          Fee     for    Notice          of Motion             --------------                          ¬-----------       $ 45.00
                          Fee for        Request           for    Judicial           Intervention              ----------------           $ 95.00
                          Fee     for    U.K.                       for     Affidavits            of Service             ---------
                                                      Notary
                          Fee     for        Index     Number             -----------------                     ---                     - $ 210.00




                                                                                                      TOTAL                                                         $      f-ro       . o o


            STATE          OF        NEW         YORK,           COUNTY                 OF      NEW YORK                          ATTORNEY'S                  AFFIRMATION


                          The     undersigned,                  attomey          at law         of the    State         of New          York,        one   of the       attorneys         of record


            for    the   plaintiff           in the above            entitled         action,         states      that     the       disbursements            above       specified         have


            been       or will       necessarily           be made             or incurred            therein          and     are reasonable              in amount.


                          The     undersigned                affirms          this    statement           to be true              under    the       penalties      of perjury.


            Dated:        New        York,           New     York

                          February             20,    2020


                                                                                                                       Respectfully              submitted,


                                  CERTlFY                THAT        I HAN/E.                                          BOIES           SCHILLER              FLEXNER                LLP
            I HEREBY                                              COSTS              AT
                                  THiS          B4LL       OF
           ADJUSTED
                                                                                                                       /s/ Nicholas             A.    Gravante


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                                                     Nicholas         A.    Gravante,      Jr.
                                                     55 Hudson             Yards
                                                     New      York,         New     York   10001
                                                     Tel:     (212)    446-2300
                                                     Fax:     (212)        446-2350
                                                     Email:      ligravaiite@bsfllp.com


                                                     Attorneys        for     Plaintiff    Athena   Art   Finance
                                                     Corp.




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                                                     BOIES       SCHILLER                 FLEXNER      LLP




                                                     55 Hudson             Yards
                                                     New     York,         New     York      10001
                                                     Tel:   (212)     446-2300
                                                     Fax:    (212)     446-2350




                                                     Attorneys       for     Plaintiff




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                                                                         LOAN      AND SECURITY                AGREEMENT


                         This     LOAN          AND         SECURITY          AGREEMENT           (as amended,    amended   and restated, supplemented,    or
         otherwise        modified        from       time    to time,    this "Agreement")      made and entered into as of March 31, 2017, by and among
         ATHENA            ART        FINANCE CORP.,                    a Delaware   corporation,    with offices  located at 400 Park Avenue,   12th Floor,
         New    York,           New     York
                                          10022 ("Lender")     and 18 BOXWOOD       GREEN      LIMITED,     a limited  liability company
         incorporated         under the laws of Jersey (company   number 1 19821) having a registered office at First Floor, 7 Esplanade,
         St Helier,       Jersey JE2 3QA, ("Borrower").


                                                                                             RECITALS


                    WHEREAS,       Borrower    has requested  Lender to make available    to Borrower   a revolving  USD                                                    loan facility
         (the "Facility")  in an aggregate amount not to exceed the Cc--"--ñt           (as defined below),    and Lender                                                   is willing    to
         make the Facility   available   to Borrower   on the terms and conditions set forth in this Agreement.


                                                                                           AGREEMENT


                  NOW, THEREFORE,         in consideration   of the terms, covenants,    provisions  and conditions herein contained,
         and      other good and valuable
                 for                          consideration,   the receipt  and sufficiency      of which are hereby acknowledged,
         Borrower   and Lender, intending  to be legally bound, hereby agree as follows:


         1.              Definitions.          All    capitalized       terms     and not otherwise          defined     shall have the meanings           assigned    to such terms
         in Annex         A attached          hereto.       Terms       defined    in the UCC        which     are not otherwise        defined     in this Agreement            are used
         herein    as defined         in the UCC.


         2.              Loan and Terms               of Payment


                                        2.1             Loan      Commitment;         Utilization.


                                        2.1.I.      Subject to the terms and conditions    of this Agreement,    Lender agrees to make
                         "Loan"
          loans (each, a            and collectively,     the "Loans")  to Borrower  from time to time during the period commencing
          on the Closing Date and ending on the earlier of (a) the Maturity         Date and (b) the termination    of the CcrrMr:üt,
          in an aggregate principal    amount that will not result in the Outstanding     Amount    at any time exceeding   the lesser of
          (x) the Commitment     and (y) the Borrowing         Base. The Loans shall be evidenced   by the Note.


                                                         2.1.2.      The      obligation    of Lender         to make       a Loan    to Borrower         on any date         under    this
          Agreement             shall be subject            to the following:


                                                     (a)        each of the conditions  set forth                       on Annex      D attached     hereto    are satisfied        to the
         satisfaction       of Lender          in its sole discretion  as of such date;


                                                       (b)           no Default       or Event       of Default        has occurred    and is continuing        as of such date or
         would         exist after giving            immediate       effect     to such Loan;


                                             (c)       all representations   and warranties   made by                                      the     Loan    Parties     in  any Loan
         Document          are true and correct in all material respects as of such date and immediately                                    after giving      effect   to such Loan;


                                                        (d)      Lender has determined   that (as of such date), immediately  after giving effect to
         such Loan,         the Outstanding               Amount  will not exceed the lesser of (1) the Borrowing   Base and (2) the Commitment;
         and


                                                   (e)               Borrower        has delivered      (no later than 10 Business           Days prior       to the proposed          date
         of such Loan)           a Draw        Request         to Lender.
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                                                       2.1.3.         Each proposed             Loan under           a Draw      Request     shall (i) be in an amount not less than
          $1,000,000       (or the Available                  Loan       Amount        as of the date of such Draw                     Request    if the Available  Loan Amount    is
          less than $1,000,000  as of such date), (ii) have a Maturity    Date on or after the One-Year    Anniversary    Date of such
          Loan      (or the Final
                              Maturity  Date if the Final Maturity   Date is before such One-Year     Anniversary    Date) and (iii) be
          funded by the Lender (subject to the terms and conditions      hereof) on or after the date that is 10 Business Days from
          the date of such Draw Request.


                                                       2.1.4.         Within    the foregoing    limits                 and subject        to the terms           and    conditions       set forth
          herein,     Borrower          may borrow,            prepay       and reborrow   Loans.


                                       2.2        Loan Mechanics;    Interest; Prepayments;   Reserve                                  Account;  Etc. Certain provisions relating
         to, among      other
                         things,               borrowing  and  other   loan   mechanics, prepayments,                                   and the reserve account are set forth in
         Annex C attached hereto.


                                       2.3            Qualified          Art Appraisals.


                                       2.3.1.    On or about the last day of each Facility    Year, Lender may request, or obtain or
          cause to be obtained,  or conduct or cause to be conducted,     a Qualified  Art Appraisal  of the Artwork   Collateral Pieces
          (or any one or combination      of them).  Borrower   shall bear the costs and expenses of any Qualified         Art Appraisal
          conducted   in accordance   with this Section 2.3.1.    Promptly    after Lender's  receipt of any Qualified     Art Appraisal
          conducted       in accordance               with     this Section        2.3.1,       Lender       shall    deliver    to Borrower         a written     notice, substantially     in
          the form      attached         hereto    as Exhibit          B, showing,              as of the date of such Qualified                    Art    Appraisal,    calculations   of the
          Borrowing        Base, and attaching                  thereto supporting               information          in connection        therewith.


                                     2.3.2.   At any time, Lender may request, or obtain or cause to be obtained,     or conduct or
          cause to be conducted, additional  Qualified  Art Appraisals of the Artwork  Collateral   Pieces (or any combination    of
          them).  Lender shall bear the costs and expenses of any Qualified    Art Appraisal   conducted   in accordance   with this
          Section     2.3.2, provided,    that if any Qualified Art Appraisal   is conducted at any time that                                                     an Event       of Default       has
          occurred     and is continuing,     Borrower shall bear the costs and expenses of all such Qualified                                                     Art    Appraisals.


                                                       2.3.3.         In connection             with  any Qualified              Art   Appraisal          conducted      in accordance           with
          Section     2.3, (i) Lender shall                  engage       Qualified       Art    Appraisers  directly             to perform        each Qualified         Art   Appraisal        and
          (ii)   Borrower    shall indemnify                  each Qualified           Art Appraiser            pursuant        to Section     9.


                                       2.4            ACKNOWLEDGMENTS          BY       BORROWER.                                                          BORROWER                     HEREBY
         ACKNOWLEDGES                        AND       AGREES   THAT   BORROWER      HAS NOT    BEEN                                                 PRESSURED,              COERCED              OR
         FORCED           BY          LENDER,           ANY   OF LENDER'S   AFFILIATES,    OFFICERS,                                             DIRECTORS,   MANAGERS,
         EMPLOYEES,    MEMBERS,    SHAREHOLDERS,      REPRESENTATIVES,                                                                   COUNSEL     OR AGENTS,  OR ANY
         OTHER   PERSON,  TO ENTER    INTO   THIS AGREEMENT     OR ANY    OTHER  LOAN   DOCUMENTS                                                                                          OR     TO
         OBTAIN   THE LOAN   EVIDENCED     HEREBY.   BORROWER      HEREBY   ACKNOWLEDGES     THAT                                                                                       LENDER
         HAS      ADVISED              BORROWER                 TO       SEEK      INDEPENDENT                       LEGAL       ADVICE  FROM COUNSEL    OF ITS OWN
         SELECTION               IN    ORDER          TO       BE    FULLY          INFORMED                 OF      ITS   LEGAL            AND OBLIGATIONS
                                                                                                                                        RIGHTS                  WITH
         RESPECT           TO          THE        SUBJECT                MATTER             OF         THE        LOAN          DOCUMENTS.     BORROWER      HEREBY
         ACKNOWLEDGES                        AND         CONF1RMS                  THAT      (1) BORROWER    HAS  OBTAINED                                       SUCH       INDEPENDENT
         LEGAL         ADVICE            OR    (II)     BORROWER                   HAS      CHOSEN    TO NOT OBTAIN    SUCH                                      INDEPENDENT               LEGAL
         ADVICE.  BORROWER    HEREBY UNCONDITIONALLY                                                                 AND        IRREVOCABLY                 WAlVES          ANY        DEFENSE
         BORROWER    MAY HAVE (NOW OR IN THE FUTURE)                                                              TO THE         ENFORCEMENT                  OF ANY         OBLIGATIONS
         OF BORROWER     UNDER   ANY LOAN   DOCUMENT                                                              BY       REASON          OF       OR      IN    CONNECTION                 WITH
         BORROWER'S                    INDEPENDENT                       LEGAL          ADVICE            OR          BORROWER'S                 FAILURE            TO      OBTAIN           SUCH
         INDEPENDENT                    LEGAL           ADVICE.                 BORROWER                 ACKNOWLEDGES                        THAT           LENDER'S             COUNSEL           IS
         REPRESENTING                   ONLY          LENDER             IN THIS        TRANSACTION.


         3.           Creation         of Security           Interest:     Other      Collateral       Provisions


                                       3.1            Grant       of Security   Interests.  Borrower  hereby pledges,   assigns and grants                                         to Lender,           a
         security     interest        in all of its right,         title and interest in, to and under all property of Borrower,  wherever                                            located,    and


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         whether       now owned        or existing or hereafter owned, acquired or arising from                        time to time (collectively,      the "Borrower
         Collateral"),          to secure the prompt and complete      payment and performance                           of all the Obligations,    including,    without
         limitation:       (a) all Artwork    Collateral    Pieces; (b) all negotiable                       and non-negotiable    documents     of title and invoices
         covering        the Artwork    Collateral    Pieces and all Accounts     (as defined                        in the UCC),           contract    rights     (as defined       in the
         UCC), Chattel Paper (as defined in the UCC),                               Documents          (as defined    in the UCC),          warehouse
                                                                                                                                 receipts, and General
         Intangibles (as defined in the UCC) and other           obligations     of any kind, now or hereafter existing,            in each case solely
         arising   from  or  with respect to all or any of  the Artwork      Collateral     Pieces; (c)  all  cash   or non-cash  Proceeds   (as defined
         in the UCC)       of any of the foregoing,     including,     without      limitation    (i) all rights under warranties         and insurance
         contracts,    covering   any of the foregoing,    (ii) any causes of action (including              all tort claims and liquidation     claims)
         relating to any of the foregoing,    and (iii) all proceeds (including  insurance proceeds)       from the sale, destruction,    loss
         or other Disposition   of any of the foregoing     and sums due from a third-party        who has damaged or destroyed        any of
         the foregoing   or from that party's   insurer, whether due in judgment,      settlement,    or other process; and (d) all books,
         data and records pertaining    to the foregoing,    whether  in the form of a writing,      photograph,   microfilm  or electronic
         media, including, but not limited                   to, any computer-readable                 memory    and any computer               hardware      or software     necessary
         to process such memory.


                                        3.2           Authorization
                                                          to File Financing       Statements;   Ratification.      Borrower      authorizes     Lender,
         counsel        and     other               at any time and from time to time, to file or record
                                          representatives,                                                                   financing     statements,
         amendments     to financing    statements,    and other filing      or recording    documents      or instruments      with respect to the
         Borrower   Collateral   in such form and in such offices appropriate           to perfect (and to continue)        the security interest of
         Lender   under this Agreemcñt       in the Borrower      Collateral    and to meint±in      such security     interest as a first priority
         perfected  security    interest in the Borrower   Collateral.  Borrower  hereby ratifies  its authorization                                             for Lender      to file   in
         any relevant jurisdiction      any financing statements relating to the Borrower  Collateral    if filed prior                                          to the Closing      Date.


                                        3.3
                                      Continuing   Security Interest. This Agreement     shall create a continuing      security interest in
         the Borrower             and shall (i) remain in full force and effect until the Discharge
                                Collateral                                                             of Obligations,     or, with respect
         to any Borrower  Collateral,   Lender's   written  agreement  to release such Borrower       Collateral,   (ii) be binding     upon
         Lender and Borrower    and each of its successors and assigns and (iii) inure together with the rights and remedies of
         Lender        hereunder,        to the benefit      of Lender         and its successors,        transferees       and assigns.




                                 3.4        Addition   of Artwork      Collateral   Pieces.           At any time and from time to time, Borrower
         may add artwork(s)          to the then existing    pool of Borrower         Collateral    (each, a "Collateral     Additian")    or substitute
         other artwork(s)       for any Artwork      Collateral    Piece that is subject to the Lien granted by this Agreement                  (each, a
                          Substitution"
         "Collateral                        and each such additional          or other artwork      being referred   to as, the "Proposed     Artwork
         Piece"),    provided    that, any such Collateral      Addition     or Collateral    Substitution   is approved   in writing   by Lender in its
         sole discretion         prior        to such Collateral       Addition      or Collateral       Substitution,       as the case may be, and such approval may
         be conditioned             upon        the   satisfaction       of    certain     conditions     precedent         prescribed   by Lender,  including,  without
         limitation:       (a) Borrower      shall have notified Lender  of its intention                                to effect   a Collateral          Addition     or Collateral
         Substitution        at least fifteen (15) days prior to the proposed effective                              date of such Co!!ateral               Addition      or Collateral
         Substitution,          (b) both immediately            before
                                                                   and after giving effect to such Collateral     Addition  or Collateral   Substitution,
         no Default           or Event of Default       shall have occurred       and be continuing,     (c) before and after giving      effect to such
         Collateral       Addition        or Collateral Substitution,     the Outstanding    Amount    shall not exceed the Borrowing       Base, (d) the
         Proposed         Artwork        Piece shall satisfy all Eligibility   Criteria,  (e) Borrower    shall have provided   Lender with all items
         set forth       in Annex        1 (Artwork        Collateral         Diligence) of Annex           D hereof       with   respect       to the Proposed        Artwork       Piece
         and (f) the Proposed   Artwork                   Piece      shall    have been delivered           to the Approved          Storage       Facility      in a condition       fully
         satisfactory to the Lender.


                                        3.5           Amendments             to Schedule
                                                                                      A.        If, in connection      with   any Collateral  Addition     or
         Collateral       Substitution           in accordance        with     Section
                                                                                    3.4, any Artwork   Collateral    Piece is released from the Borrower
         Collateral    or any Proposed Artwork                        Piece is added to the Borrower   Collateral,    Schedule    A shall be deemed to be
         automatically      amended    by Lender                     to reflect such changes   and Borrower       hereby    approves  each such unilateral
         amendment.       All reasonable  costs and expenses                         incurred     by Lender       in connection          with     any of the foregoing            shall    be
         the sole responsibility                of Borrower.




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         4.             Representations         and Warranties.           Borrower      hereby      represents     and warrants        to Lender        that:


                                    4.1Organization;     Powers.    Borrower    is duly organized,       registered    or incorporated,     as the case
         may be, validly   existing  and  in good    standing   under   the  laws  of  the  jurisdiction     of   its organization,    registration   or
         incorporation,  as the case may be, has all requisite power and authority            to carry on its business as now conducted             and,
         except where the failure to do so, individually         or in the aggregate,      could not reasonably          be expected to result in a
         Material        Adverse    Change,          is qualified       to do business,       and    is in good      standing      in, every       jurisdiction       where         such
         qualification       is required.


                             4.2        Authorization;       Enforceability. The Transactions       are within   Borrower's   organizational
         powers    and have been duly authorized           by all necessary  organizational    actions of Borrower,     and, if required,    all
         stockholders'                    holders'
                        or other equity               actions on the part of Borrower.    This Agrccmcat     and each other Loan Document
         to which        Borrower is party have been duly executed and delivered    by Borrower                                and constitute       legal, valid and binding
         obligations     of Borrower,     enforceable against Borrower in accordance   with their                              respective      terms,  subject to applicable
         Debtor     Relief Laws.


                                    4.3             Borrower      Collateral.


                                        4.3.1.    No financing     statement,    security  agreement,       instrument     or other document
          purporting         to cover
                                 any interest in all or any portion       of the Borrower       Collateral    which    has not lapsed or been
          terminated,  naming Borrower      (or any Affiliate  of Borrower    or, to the best knowledge       of Bon-ower,    any other Person)
          as debtor has been filed or is of record in any jurisdiction,    except (i) financing     statements filed or to be filed in respect
          of and covering   the security interests granted hereby and (ii) those set forth on Schedule 4.3.1 hereto.


                                                     4.3.2.      Borrower       is the sole and absolute           lawful      and beneficial       owner         of all Borrower
          Collateral.        The Borrower           Collateral      is free and clear of all Liens          (other    than those contemplated                   by clauses        (i) and
          (ii)   of Section     4.3.1).


                                                     4.3.3.      Borrower       has the authority       to sell and/or      transfer    good and marketable               title    to all
          Borrower         Collateral.


                                                     4.3.4.      The Disposition        of all or any part of the Borrower Collateral  by Lender following
          an Event        of Default      in accordance          with   applicable     law and the terms of this Agreement    shall not require the consent
          of any Person and shall not constitute   a breach                          or default     under   any agreemêñt          to which      Borrower          is a party       or is
          bound by or to which its property  is subject.


                                        4.3.5.      (i) No Provenance      Claim has been made with respect to any Artwork          Collateral
          Piece, and  (ii) no action,    suit or proceeding          by or before any arbitrator     or Governmental     Authority   has been
          cemacñced    or is pending regarding        the mtheticity     of any Artwork   Collateral  Piece, the provenance   of any Artwork
          Collateral Piece or Borrower's       title to any Artwork      Collateral Piece, (iii) no Person has raised, by any other means,
          any adverse allegation    or question with respect to the authenticity         of any Artwork     Collateral Piece, the provenance
          of any Artwork   Collateral Piece or Borrower's   title to any Artwork    Callateral                                 Piece, and (iv) Borrower       has no basis
          for concern that any adverse claim may exist with respect to the authenticity                                        of any Artwork      Collateral   Piece, the
          provenance   of any Artwork   Collateral Piece or Borrower's    title to any Artwork                                   Collateral Piece.


                                       4.3.6.     Borrower    has not received    any third-party  claim,                                and to the best knowledge                      of
          Borrower          are no third-party
                            there                  claims,  that  would   prevent   any seller, assignee                                 or purchaser            of any      Artwork
          Collateral  Piece from receiving     any payments     or proceeds in respect thereof, without                                     defense,      counterclaim,           setoff,
          right of recoupment,  abatement     or other claim or determination      whatsoever.


                                                     4.3.7.      Borrower       has not signed       any legally     binding     agreement,        contract       or option       to sell
          any Artwork          Collateral       Piece.


                                                     4.3.8.   If any Artwork    Collateral     Piece was imported    to the United   States, each such
          Artwork         Collateral      Piece     has been permanently      exported     from its country  of origin and/or country     where it was
          located        immediately        prior   to its importation  into the United States ("Country       of Exportatica")    in accordance   with

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          all applicable         laws of both     its country of origin (if applicable), Country   of Exportation and of the United States, all
          required       declarations        upon the export and import of such Artwork    Collateral  Piece have been properly   made, and all
          duties     and taxes on such export                   and import    have been paid.             Borrower         further     represents     and warrants     that Borrower
          has delivered       to Lender, prior to the Closing Date, true, correct and complete copies of all documents    and instruments
          pertaining       to such export and import (including,    without   limitation, all import and export licenses, customs forms
          and bills       of lading),   and all other relevant                 information         pertaining  to such export                   and import,      to demonstrate      the
          accuracy        of the representation   and warranty                 contained        in the immediately   preceding                   sentence.


                                                       4.3.9.      Each Artwork         Collateral        Piece is authentic            and was created      by the artist indicated
          on Schedule      A hereto, and the attribution, provenance,                           exhibition         history     and description         of each Artwork     Collateral
          Piece     is as set forth in Schedule A hereto.    Borrower                           further        represents      and warrants         that the bill    of sale (or other
          proof  of ownership)              and all documents             and information         with      respect       to each Artwork           Collateral   Piece delivered
                                                                                                                                                                         by
          Borrower   to Lender              on or prior  to the Closing  Date is authentic                       and accurately   reflects all of the information    in the
          foregoing sentence,               to the extent applicable.   To the knowledge                         of Borrower,   the Collateral   was not confiscated     by
          any Governmental    Authority                   at any time.


                                                       4.3.10.     This    Agreement         creates       in     favor      of Lender   a legal,    valid,   continuing            and
          enforceable         security      interest      in the Borrower        Collateral.            Upon     either    (or both) of the delivery     of possession            of the
          Artwork         Collateral
                                 Pieces to the Approved        Storage     Facility and/or                                  the filing of a Uniform
                                                                                                                                        Code               Commercial
          financing  staternerst naming Borrower    as debtor and Lender as Secured Party and describing        the Borrower     Collateral,
          Lender will have a fully perfected   first priority   security interest in each Artwork    Collateral Piece (including     without
          limitation the proceeds of such Borrower      Collateral),    in each case being prior and superior in right to any Lien or any
          other     Person.


                                                       4.3.11.     Each Artwork         Collateral       Piece shall be delivered              to the Approved       Storage   Facility
          on or prior        to the date that such Artwork                 Collateral      Piece becomes             Borrower          Collateral    under   this Agrccmcat.


                                      4.4      No Consents.   The Transactions     (a) do not and will not require any consent or approval of,
         registration
                    or filing          with, or any other action by, any Governmental           Authority  or any other Person, except (i) such as
         have been obtained            or made and are in full force and effect and (ii) filings and registrations         necessary to perfect the
         Liens     created      hereunder;   (b) do not and will not violate   any   applicable    Requircmcñts   of  Law;  (c) do not and will not
         violate     or result     in a default        under any indenture,             agreement
                                                                                           or other instrument  binding  upon Borrower   or any of its
         assets, or give rise to a right               thereunder to require  any payment to be made by Bor r ower, (d) do not and will not result
         in the creation or imposition                  of any Lien on any asset of Borrower,     except the Liens created hereunder,  and (e) do not
         and will       not violate      or result      in a default under any Organizational     Documents.


                                      4.5          Taxes.          Borrower    has filed       all United         States     federal     and other     income    tax returns    and all
         other     tax returns
                           (federal,    state, local and foreign)  required  to be filed by Borrower   and has paid all taxes shown as
         due on such returns,     assessments     and govei-merdal    charges and levies thereon,    in each case due and payable by
         Borrower, including    interest and penalties, except for taxes being contested in good faith by appropriate       proceedings
         and for which          appropriate       reserves         are maintained.


                                      4.6            Litigation.      There    are no actions           or proceedings         pending or, to the knowledge             of Borrower,
         threatened        against      Borrower  or any of Borrower's                     assets       before     any court,      Governmental    Authority            or arbitrator,
         except     as set forth       in Schedule 4.6.


                                      4.7            Solvency.     Immediately   after the consummation      of the Transactions, Borrower     will be
         Solvent.        None    of the Transactions          will, or have been made with an intent to, hinder, delay or defraud any present or
         future     creditor     of Borrower,            and Borrower   has received   reasonably equivalent    value in exchange  for its respective
         obligations       under    the Loan Documents.


                            4.8      Accuracy      of Information,      Etc. No written     representation,  warranty  or other statement of
         Borrower   in any Loan Document,      affidavit,   certificate   or statement   given by or on behalf of Borrower     to Lender, for
         use in connection  with the transactions      contemplated      by the Loan Documents,         when taken as a whole, contains any
         untrue statement of a material  fact or omits to state a material        fact necessary to make the statements contained      herein
         or therein       not misleading.


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                                       4.9            Compliance          witli    Laws.        Borrower        is in coiiipliance      with     all Requirements    of Law      binding
         or applicable            upon Bormwer           or the property           of Borrower.


                                       4.10           f RESERVED].


                                       4.1 I          Certain      Information         With      Respect        to Borrower.


                                          4.11.1. Schedule 4.11.1 sets forth the following        information      with respect to Borrower:     (i)
          its exact       legal
                           name of, as such name appears in its Organizational           Documents;      (ii) its  jurisdiction of organization,
          incorporation   or formation,     as the case may be; (iii) the type of entity it is; (iv) whether it is a registered organization;
          (v) its organizational     identification    number,  if any, if it registered     organizations;       (vi) the addresses   where its
          registered office and places of businesses is located; (vii) its mailing address; and (viii) the addresses where all books
          and records         relating to any Borrower   Collateral   is located.    Except as set forth on Schedule 4.1 1.1, Borrower  (i) has
          not changed           its name, jurisdiction of organization,     registered   office or sole place of business or its corporate   or
          organizational            structure       in any way (e.g., by merger, consolidation, change in corporate  form or otherwise)   or (ii) has
          not done business                 under    any other name, in each case, within the past five (5) years immediately  prior to the date of
          this Agreement.


                                                       4.1 1.2. Set        forth      on    Schedule        4.1 L2       is a true, correct and complete   organizational
          structure        chart     of Borrower          and its Affiliates            and Subsidiaries, including               each owner of each class of Borrower's
          Equity      Interests       and the percentage              ownership         of each such owner.

                                                                                                                                                       company"
                                       4.12           Investment
                                                  Company      Status.  Borrower  is not an "investment                                                             as defined    in, or
         subject to regulation under, the Investment   Company      Act of 1940, as amended.     Borrower                                               is not subject   to regulation
         under any Requirement    of Law that limits its ability to incur indebtedness.


                                       All    representations        and warranties    contained    herein or made in writing   by Borrower in connection
         herewith        shall survive         the execution        and delivery   of this Agreement      and any and all other Loan Documents   or any of
         the Obligations            and shall terminate            only upon the Discharge       of Obligations.


         5.              A ffirmative         Covenants.         Until    the Discharge           of Obligations,         Bonower          agrees as follows:


                                        5.1           Additional         Information.           Borrower         shall   furnish     to Lender      promptly,   but in any event no
         later    than     five
                          (5) days following any request therefor,  such information                                                 regarding      (i) Borrower,    (ii) Borrower's
         compliance   with the terms of any Loan Document,      and (iii) the Borrower                                               Collateral,       in each case as Lender may
         request from time to time.


                                        5.2           Compliance         with   Laws;    Payment   of Obligations.   Borrower      will     comply  with   all
         Requirements              of Law       applicable        to it and its properties,  except where the failure to do so, individually        or in the
         aggregate, could not reasonably                        be expected to result in a Material   Adverse Change.     Borrower      will comply   with all
         its payment obligations, including,                       without        limitation,     liabilities            of Taxes that, if not paid, could reasonably
                                                                                                                   in respect
         be expected to result in a Material                          Adverse        Change       before    the same shall become delinquent      or in default,  except
         where  (i) the validity  or amount thereof is being contested                                  in good faith by appropriate  proceedings,    and (ii) Bonower
         has set aside on its books (if any) adequate reserves with                                    respect thereto.  To the extent Borrower      defers payment    of
         any contested     Taxes,   Borrower   shall (i) notify Lender                                in writing           of the commencement      of, and any material
         development              in, the Tax detcitrient          proceedings,             and (ii) post bonds           or take any other steps required to prevent the
         Governmental              Authority        levying     such contested             Taxes from obbining             a Lien upon any of the Borrower   Collateral.


                                        5.3           Solvency.          Borrower       shall     at all times      remain      Solvent.


                                        5.4           Maintain        Collateral       Insurance.


                                                       5.4.1.         Borrower       shall, at Borrower's    own expense, maintain         and keep in full force and
          effect    at all times        with    respect       to each Artwork          Collateral  Piece, a stand-alone     "all risk", worldwide    fme art insurance
          policy      with        a worldwide         geographic           territory   covering   each Artwork      Collateral    Piece, including    coverage  against
          fire,    damage,          theft     and such        other      risks and extended        coverages    (including      windstorm    coverage    and hurricane

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